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18                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
19
     DUC CHUNG, BERNETTA EVERETT,             Case No.: 2:20-cv-04954
20   DWIGHT EVERETT, DEBRA
     LEONELLI, DAVID REGE, CONNIE
21   SIMMONS, JAMES SIMMONS, and              CLASS ACTION COMPLAINT
     MICHAEL SIMMONS on behalf of             FOR DAMAGES
22   themselves and all others similarly
     situated,
23                                            1. NEGLIGENCE
                 Plaintiffs,                  2. GROSS NEGLIGENCE
24         vs.                                3. NEGLIGENT INFLICTION OF
25   CARNIVAL CORPORATION;                       EMOTIONAL DISTRESS
     CARNIVAL PLC and PRINCESS                4. INTENTIONAL INFLICTION OF
26                                               EMOTIONAL DISTRESS
     CRUISE LINES LTD.,
27
                 Defendants.                  DEMAND FOR JURY TRIAL
28

                                                      CLASS ACTION COMPLAINT FOR DAMAGES
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 1                        COMPLAINT AND JURY DEMAND
 2         Individual and representative Plaintiffs DUC CHUNG, BERNETTA
 3   EVERETT, DWIGHT EVERETT, CONNIE SIMMONS, JAMES SIMMONS, and
 4   MICHAEL SIMMONS, bring this action for themselves and on behalf of all
 5   persons similarly situated, including Individual Plaintiffs DEBRA LEONELLI and
 6   DAVID REGE, and the more than 2000 other passengers who sailed on the
 7   roundtrip Motor Vessel (“M/V”) GRAND PRINCESS cruise from San Francisco,
 8   California on February 11, 2020, to Mexico, against Defendants, PRINCESS
 9   CRUISE LINES LTD. ("PRINCESS"), its parent companies CARNIVAL
10   CORPORATION & CARNIVAL PLC (collectively, “CARNIVAL”) and allege:
11                                    THE PARTIES
12         1.    Individual and representative Plaintiff Duc Chung is sui juris, and is a
13   resident of Fresno County, California and was a passenger onboard the Grand
14   Princess cruise from February 11, 2020, to disembarkation on February 21, 2020.
15         2.    Individual and representative Plaintiff Bernetta Everett is sui juris, and
16   is a resident of Ventura County, California and was a passenger onboard the Grand
17   Princess cruise from February 11, 2020, to disembarkation on February 21, 2020.
18         3.    Individual and representative Plaintiff Dwight Everett is sui juris, and
19   is a resident of Ventura County, California and was a passenger onboard the Grand
20   Princess cruise from February 11, 2020, to disembarkation on February 21, 2020.
21         4.    Individual and representative Plaintiff Connie Simmons is sui juris,
22   and is a resident of San Joaquin County, California and was a passenger onboard
23   the Grand Princess cruise from February 11, 2020, to disembarkation on February
24   21, 2020.
25         5.    Individual and representative Plaintiff James Simmons is sui juris, and
26   is a resident of Fresno County, California and was a passenger onboard the Grand
27   Princess cruise from February 11, 2020, to disembarkation on February 21, 2020.
28
                                                           CLASS ACTION COMPLAINT FOR DAMAGES
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 1           6.    Individual and representative Plaintiff Michael Simmons is sui juris,
 2   and is a resident of San Joaquin County, California and was a passenger onboard
 3   the Grand Princess cruise from February 11, 2020, to disembarkation on February
 4   21, 2020.
 5           7.    Individual Plaintiff Debra Leonelli is sui juris, and is a resident of San
 6   Francisco County, California and was a passenger onboard the Grand Princess
 7   cruise from February 11, 2020 through her disembarkation on or about March 10,
 8   2020.
 9           8.    Individual Plaintiff David Rege is sui juris, and is a resident of San
10   Francisco County, California and was a passenger onboard the Grand Princess
11   cruise from February 11, 2020 through his disembarkation on or about March 10,
12   2020.
13           9.    Defendant CARNIVAL CORPORATION was incorporated in 1972 in
14   Panama and has its headquarters in Miami, Florida.
15           10.   Defendant CARNIVAL PLC was incorporated in 2000, in Wales,
16   United Kingdom. It also has its headquarters in Miami, Florida.
17           11.   Upon information and belief, Defendant PRINCESS CRUISE LINES
18   LTD. is incorporated in Bermuda, with its headquarters in Santa Clarita, California.
19           12.   Upon information and belief, at all times hereto, CARNIVAL
20   CORPORATION, CARNIVAL PLC, and PRINCESS advertised, marketed, sold,
21   and profited (directly or indirectly) from and owned, controlled, and operated the
22   cruise ship, M/V GRAND PRINCESS.
23                        ALTER EGO/PIERCING CORPORATE VEIL
24           13.   Defendants CARNIVAL CORPORATION, CARNIVAL PLC, AND
25   PRINCESS are alter egos and/or agents of each other such that the corporate form
26   should be disregarded.
27           14.   CARNIVAL CORPORATION and CARNIVAL PLC operate as a
28   single economic enterprise. They share a senior executive management team and
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
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 1   identical Boards of Directors. Both CARNIVAL CORPORATION and
 2   CARNIVAL PLC share a single headquarters in Miami, Florida.
 3         15.    As described by CARNIVAL CORPORATION in a filing with the
 4   Securities and Exchange Commission (“SEC”), “Carnival Corporation and Carnival
 5   plc operate a dual listed company (‘DLC’), whereby the businesses of Carnival
 6   Corporation and Carnival plc are combined through a number of contracts and
 7   through provisions in Carnival Corporation’s Articles of Incorporation and By-
 8   Laws and Carnival plc’s Articles of Association.”
 9         16.    Plaintiffs bring this lawsuit against CARNIVAL CORPORATION and
10   CARNIVAL PLC individually, but because the entities work as alter-egos and/or
11   agents of one another, Plaintiff refers to them collectively throughout this
12   Complaint as “CARNIVAL.”
13         17.    In a federal criminal plea agreement signed by CARNIVAL in 2016,
14   CARNIVAL described PRINCESS as one of several “operating lines” that together
15   comprise the “Carnival Group” of companies. CARNIVAL stated that Princess and
16   the other cruise ship operating lines are semi- autonomous entities within the
17   Carnival Corporation and Carnival plc (formerly P&O Princess Cruises plc)
18   corporate umbrella.
19         18.    In that 2016 federal criminal plea agreement, CARNIVAL stated that
20   it “currently monitors and supervises environmental, safety, security, and regulatory
21   requirements for Princess and other Carnival brands. Carnival Corporation & plc
22   operate a total of 101 ships visiting 700 ports around the world, including most
23   major ports in the United States.”
24         19.    CARNIVAL has ownership and control over PRINCESS, which is
25   organized under Holland America Group within CARNIVAL. CARNIVAL has
26   claimed in filings with the SEC that it wholly owns PRINCESS as a subsidiary.
27         20.    CARNIVAL and PRINCESS share the same Board of Directors and
28   almost all of the same executive officers, and appear to use the same assets.
                                                           CLASS ACTION COMPLAINT FOR DAMAGES
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 1         21.     CARNIVAL exerts control and domination over PRINCESS’s
 2   business and day-to-day operations.
 3                                      JURISDICTION
 4         22.     This Court has Admiralty subject matter jurisdiction pursuant to 28
 5   U.S.C. § 1333, as this case involves a maritime tort. The type of incident and
 6   injuries suffered by Plaintiffs and the class had the potential to impact maritime
 7   commerce as Plaintiffs and the class suffered harm and Plaintiffs and the class were
 8   and continue to be at serious risk of imminent harm as a result of exposure to
 9   COVID-19 aboard the cruise ship upon which they were paying passengers.
10         23.     This Court also has subject matter jurisdiction pursuant to the Class
11   Action Fairness Act, codified at 28 USC §1332(d)(2)(A) and (C), because the
12   claims of the proposed Class Members exceed $5,000,000 and because at least one
13   member of the Proposed Class of plaintiffs is a citizen of a state different from at
14   least one Defendant.
15         24.     This Court has personal jurisdiction over Defendants, who each
16   conduct substantial business in this district.
17         25.     Defendant PRINCESS has its headquarters in Santa Clarita, California.
18         26.     Upon information and belief, CARNIVAL, including by and through
19   its subsidiary, PRINCESS, markets cruise vacations to California residents and
20   employs thousands of California residents to work at its California headquarters.
21   The Court has personal jurisdiction over CARNIVAL because CARNIVAL is
22   authorized to do business in California, conducts substantial business in California,
23   and some of the actions giving rise to this Complaint took place in California.
24         27.     The claims asserted herein arise from Defendants’ contacts with
25   California.
26         28.     Additionally, each of the Defendants purports to be a party to the
27   Passage Contract, which purports to name the Central District as proper venue to
28   actions against Defendants. Although Plaintiffs do not concede the enforceability of
                                                            CLASS ACTION COMPLAINT FOR DAMAGES
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 1   the Passage Contract, by naming this District as a proper venue, Defendants have
 2   consented to personal jurisdiction in this District.
 3         29.    Each of the facts pleaded herein independently, but also all of these
 4   facts together, are sufficient to render the exercise of jurisdiction by this Court over
 5   Defendants permissible under traditional notions of fair play and substantial justice.
 6                                           VENUE
 7         30.    Venue in the Central District of California is proper under 28 U.S.C. §
 8   1391 because Defendants are deemed to reside in any judicial district in which they
 9   are subject to personal jurisdiction.
10         31.    Additionally, without conceding the enforceability of the Passage
11   Contract, Plaintiffs acknowledge the inclusion in the Passage Contract of a venue
12   selection provision designating the United States District Court for the Central
13   District of California in Los Angeles as a proper venue for this action.
14                               FACTUAL BACKGROUND
15         32.    In December 2019, a new strain of Coronavirus known as COVID-19
16   or SARS-CoV-2 was first observed in humans in China. The virus quickly spread
17   through China and Asia and has caused a global pandemic. Infection with COVID-
18   19 is generally associated with symptoms such as fever, a dry cough, shortness of
19   breath, infection, pneumonia, and it can be fatal.
20         33.    In addition to the cold- and flu-like symptoms COVID-19 patients
21   typically experience, the virus has been linked to loss of taste and smell, blood
22   clots, severe strokes, heart inflammation, acute kidney disease, intestinal damage,
23   liver damage, and neurological problems.1 Clinicians and public health experts
24   continue to learn more about the virus, its effects on the human body, and the
25
     1
26    Lenny Bernstein, Carolyn Y. Johnson, Sarah Kaplan and Laurie McGinley.
     Coronavirus destroys lungs. But doctors are finding its damage in kidneys, hearts,
27   and elsewhere. The Washington Post. April 15, 2020.
28   https://www.washingtonpost.com/health/coronavirus-destroys-lungs-but-doctors-
     are-finding-its-damage-in-kidneys-hearts-and-elsewhere/2020/04/14/7ff71ee0-
     7db1-11ea-a3ee-13e1ae0a3571_story.html (last visited    April 29, 2020).
                                                          CLASS ACTION COMPLAINT FOR DAMAGES
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 1   residual impact on the health of those who have been exposed to or infected with
 2   COVID-19.
 3         34.    As of the filing of this complaint, there have been over 1.8 million
 4   cases and over 106,000 deaths in the United States as a result of COVID-19. Over
 5   2,600 cases and, as of this filing, 43 deaths have been reported in San Francisco, at
 6   least three of which were due to infections contracted while onboard the M/V
 7   GRAND PRINCESS—a ship owned and operated by Defendants.
 8         35.    On January 30, 2020, the World Health Organization declared
 9   COVID-19 a global health emergency.
10         36.    In early February 2020, experts in the European Union, led by
11   epidemiologist Dr. Christou Hadjichristodoulou, released guidelines for the cruise
12   industry that included an outline of the risk of COVID-19 outbreaks aboard cruise
13   ships and recommended response protocols.2 Specifically, the guidelines directed
14   that, in the event of a COVID-19 case, close contacts of the case should be
15   quarantined in their cabin or on shore, and “casual contacts” should be
16   disembarked.3
17         37.    Defendants CARNIVAL and PRINCESS represent that they have a
18   commitment to “the health, safety, and security” of their passengers and promote
19   their business as one that “always strives to be free of injuries, illness and loss.”4
20   2
       Interim Advice for Preparedness and Response to Cases of Acute Respiratory
21   Disease at Points of Entry in the European Union (EU) / EEA Member States (MS):
     Advice for ship operators for preparednessand response to the outbreak of 2019-
22   nCoV acute respiratory disease, Feb. 3, 2020,
23   https://www.gac.com/491364/siteassets/about-gac/coronavirus/eu-interim-
     advice_2019-ncov_maritime_4_2_2020_f.pdf (last visited April 6, 2020); see also
24   Matt Apuzzo, Motoko Rich and David Yaffe-Bellany, Failures on Diamond
     PrincessShadow Another Cruise Ship Outbreak, The New York Times, March 8,
25   2020, https://www.nytimes.com/2020/03/08/world/asia/coronavirus-cruise-
     ship.html (last visited April 6, 2020).
26   3
       Healthy GateWays, Algorithm for decision making in response to an event of a
27   suspect case of COVID-19,
     https://www.nytimes.com/2020/03/08/world/asia/coronavirus-cruise-ship.html (last
28   visited April 6, 2020).
     4
       Carnival Health, Environment, Safety, Security & Sustainability   Policy &
                                                         CLASS ACTION COMPLAINT FOR DAMAGES
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 1   They further assert that they “[s]upport a proactive framework of risk mitigation in
 2   the areas of HESS [Health, Environment, Safety, Security] aimed at preventing,
 3   monitoring and responding to threats.”5
 4         38.    However, in or before early February 2020, Defendants became aware
 5   of an outbreak of COVID-19 aboard the cruise ship the DIAMOND PRINCESS,
 6   which is operated by CARNIVAL and PRINCESS. The outbreak originated on the
 7   DIAMOND PRINCESS while the vessel was docked in Yokohama, Japan. Ten
 8   cases were originally diagnosed, and that number rapidly escalated to over 700
 9   cases—over one-fifth of the passengers onboard. Investigative reporting about the
10   Diamond Princess alleges that well after CARNIVAL and PRINCESS became
11   aware of the first case aboard the ship, Defendants worked to “keep the fun going”
12   by “encouraging [guests] to mingle.”6
13         39.    To date, 14 of the DIAMOND PRINCESS’ passengers have died as a
14   result of COVID-19,7 and cruises run by CARNIVAL have been identified as
15   responsible for more than 1,500 positive COVID-19 infections, and almost 40
16   deaths.
17         40.    On February 11, 2020—approximately ten days after Defendants
18   learned about the infection aboard the DIAMOND PRINCESS—Defendants
19   boarded Plaintiffs and over 2,000 other passengers onto the M/V GRAND
20
21   Governance, Carnival Health, Environment, Safety, Security & Sustainability
     Policy & Governance, https://www.carnivalcorp.com/leading-responsibly/health-
22   environment-safety-security-sustainability-policy-governance/ (last visited April 7,
     2020).
23   5
       Carnival Corporation & PLC Health, Environmental, Safety, Security, and
24   Sustainability Corporate Policy, https://www.carnivalcorp.com/static-
     files/0b8327aa-c3be-4022-a1a5-a6dad7123af7 (last visited April 7, 2020).
25   6
       Austin Carr and Chris Palmieri, Socially Distance This: Carnival Executives
26   Knew They Had a Virus Problem, But Kept the Party Going, Bloomberg, April 16,
     2020, https://www.bloomberg.com/features/2020-carnival-cruise-coronavirus/ (last
27   visited April 20, 2020).
     7
28     Lauren Smiley, 27 Days in Tokyo Bay: What Happened on the Diamond Princess,
     Wired, May 13, 2020, https://www.wired.com/story/diamond-princess-coronavirus-
     covid-19-tokyo-bay/.                                 CLASS ACTION COMPLAINT FOR DAMAGES
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 1   PRINCESS for a roundtrip voyage to Mexico without conducting any effective
 2   medical screenings for passengers and without providing any additional
 3   information about best practices to mitigate or prevent the spread of COVID-19.
 4         41.     Upon information and belief, throughout the course of the 10-day
 5   voyage to Mexico, Defendants did not alter their on-ship protocols, event
 6   itineraries, or cleaning and disinfectant practices in order to prevent the spread of
 7   COVID-19. Defendants did not, for example, institute any medical examination or
 8   screening procedures for passengers leaving and returning to the ship at any of the
 9   M/V GRAND PRINCESS’s ports of call. Nor did Defendants provide passengers
10   onboard the M/V GRAND PRINCESS any information about COVID-19.
11         42.     On or around February 19, 2020, Defendants became aware of at least
12   one passenger suffering from COVID-19 symptoms onboard the M/V GRAND
13   PRINCESS, but they did not alert Plaintiffs or other passengers aboard the ship,
14   and did not put into place any quarantine requirements or shelter-in-place and social
15   distancing protocols.
16         43.     According to CARNIVAL’s Chief Medical Officer, Grant Tarling,
17   MD, MPH, Defendants believed the infected passenger was carrying the virus when
18   he boarded the M/V GRAND PRINCESS on February 11, 2020, but because
19   Defendants did not provide any screening for passengers, they were unaware of his
20   condition.8
21         44.     Dr. Tarling reported that the infected passenger sought medical
22   treatment from the medical center onboard the M/V GRAND PRINCESS on
23   February 20, 2020. The passenger reported suffering from “acute respiratory
24   distress” for about a week before seeking treatment. Dr. Tarling did not say whether
25   the passenger had sought any medical help prior to February 20, 2020. Upon
26
27   8
      Thomas Fuller, John Eligon, and Jenny Gross, Cruise Ship, Floating Symbol of
28   America’s Fear of Coronavirus, Docks in Oakland, The New York Times, March
     9, 2020, https://www.nytimes.com/2020/03/09/us/coronavirus-cruise-ship-oakland-
     grand-princess.html (last visited April 7, 2020). CLASS ACTION COMPLAINT FOR DAMAGES
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  1   information and belief, this information would have triggered mandatory reporting
  2   under 42 CFR 71.1 et seq. and constitutes a “hazardous condition” per 33 CFR §
  3   160.216.9
  4         45.    While onboard the M/V GRAND PRINCESS, Plaintiff Connie
  5   Simmons became extremely ill and suffered from a fever. The cabin steward visited
  6   her room and refused to enter. Following this visit, on the seventh day of the cruise,
  7   a cruise ship staff member came to her room in full hazmat gear. A physician never
  8   visited her. Instead medical personnel aboard the ship repeatedly told her that she
  9   would have to visit medical facilities onboard, even though she was unable to walk
 10   that far. After disembarking from the trip on February 21, 2020, Connie Simmons
 11   suffered coughing, shortness of breath, blood clots in her right lung, and various
 12   other ailments forcing her to take over five weeks off of work.
 13         46.    Plaintiff Dwight Everett also became ill while onboard. On or around
 14   February 15, Mr. Everett lost his appetite and suffered from other symptoms
 15   consistent with COVID-19. He chose to self-isolate in his cabin. After
 16   disembarking from the cruise and returning to his home, Mr. Everett tested positive
 17   for COVID-19.
 18         47.    Upon information and belief, at least three other passengers on the
 19   M/V GRAND PRINCESS’s Mexico trip suffered from COVID-19 symptoms while
 20   on the vessel, exposing other passengers, including Plaintiffs, and crew members
 21   onboard the ship to the virus. At least 100 passengers who traveled on board the
 22   M/V GRAND PRINCESS have tested positive for COVID-19, and at least two
 23   passengers who traveled on the M/V GRAND PRINCESS’s Mexico trip died after
 24
      9
 25     Section 160.216 requires that “[w]henever there is a hazardous condition … on
      board a vessel or caused by a vessel or its operation, the owner, agent, master,
 26   operator, or person in charge must immediately notify the nearest Coast Guard
      Sector Office . . . .” A“[h]azardous condition means any condition that may
 27   adversely affect the safety of any vessel … or the environmental quality of any port,
 28   harbor, or navigable waterway of the United States. It may, but need not,
      involve … injury or illness of a person aboard … .” 33 CFR § 160.202 (emphasis
      added).                                                CLASS ACTION COMPLAINT FOR DAMAGES
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  1   disembarking.10 One of these fatalities was the first-reported death caused by
  2   COVID-19 in California.11
  3         48.    On February 21, 2020, the M/V GRAND PRINCESS arrived at port in
  4   San Francisco and most of the passengers from the Mexico trip disembarked,
  5   though some remained onboard to travel on the ship’s subsequent voyage headed to
  6   Hawaii.
  7         49.    Plaintiff Duc Chung became ill the day after disembarking from the
  8   M/V GRAND PRINCESS. He suffered from a cough, sore throat, irritated eyes,
  9   and other symptoms. He reported himself to the public health department, and self-
 10   quarantined for five days, during which he was off of work.
 11         50.    Additionally, in the days following his trip on the M/V GRAND
 12   PRINCESS, Plaintiff James Simmons suffered from a sore throat, cough, a fever
 13   and chills. He was forced to miss eight days of work, five of which were due to his
 14   having to self-quarantine.
 15         51.    On February 25, 2020, CARNIVAL and PRINCESS emailed Plaintiffs
 16   and their fellow passengers that had traveled on the M/V GRAND PRINCESS’s
 17   trip to Mexico alerting them that some of their fellow passengers had suffered from
 18   COVID-19 and that they may have been exposed to COVID-19.
 19
 20
      10
         Mark Berman, Two Grand Princess passengers die from coronavirus, officials
 21   say, The Washington Post, March 25, 2020,
 22   https://www.washingtonpost.com/nation/2020/03/25/two-grand-princess-
      passengers-died-coronavirus-officials-say/ (last visited May 19, 2020).
 23   11
         It has since been discovered that other Californians suffered from and died as a
      result of COVID-19 prior to the February 11, 2020 cruise aboard the M/V GRAND
 24   PRINCESS. Nevertheless, the death of a Placer County resident who traveled on
 25   the M/V GRAND PRINCESS’s February 11, 2020 cruise to Mexico spurred the
      state’s initial stay-at-home orders. See Placer County Announces Death of Patient
 26   with COVID-19, March 4, 2020, https://www.placer.ca.gov/6438/Death-of-patient-
      with-COVID-19 (last visited May 19, 2020); Bill Chapel, Coronavirus Deaths in
 27   Washington and California, Where Gov. Declares Emergency, NPR, March 4,
 28   2020, https://www.npr.org/sections/health-
      shots/2020/03/04/812121540/coronavirus-los-angeles-declares-emergency-and-u-s-
      reports-80-cases-in-13-states (last visited May 19, 2020).
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  1         52.    On March 4, 2020, Defendants alerted passengers who had embarked
  2   upon the M/V GRAND PRINCESS on February 21, 2020, immediately following
  3   Plaintiff’s voyage, about a “small cluster of COVID-19 cases in Northern
  4   California” related to Plaintiff’s Mexico-bound trip aboard the ship. Upon
  5   information and believe, Defendants knew at that time that M/V GRAND
  6   PRINCESS passengers on the February 21, 2020, voyage were currently suffering
  7   from COVID-19 and that there potentially an outbreak.
  8         53.    Spurred by information regarding conditions onboard the M/V
  9   GRAND PRINCESS during its Hawaii voyage, and by the death of a passenger
 10   who had been onboard the ship during Plaintiff’s Mexico-bound trip, Governor
 11   Gavin Newsom declared a state of emergency on March 4, 2020, to manage the
 12   COVID-19 outbreak in California. As a result, the State of California refused to
 13   allow the vessel into port in San Francisco, forcing the vessel to anchor off the
 14   city’s coast. Governor Newsom stated at a press conference that there were 11
 15   passengers and 10 crew members experiencing symptoms.
 16         54.    On or about Thursday, March 5, 2020, two weeks after the M/V
 17   GRAND PRINCESS sailed for Hawaii, Defendants instituted some changes in their
 18   operation of the vessel, including cabin/state room quarantine, meal service within
 19   the cabins/state rooms, and cessation of daily turndown service and communal
 20   activities. Defendants had never instituted these protocols during Plaintiffs’ trip,
 21   despite knowing about the potential for contagion aboard the cruise ship, and
 22   despite becoming aware, while the ship was still at sea, that at least one passenger
 23   was suffering from COVID-19.
 24         55.    On or around March 6, 2020—two weeks after Plaintiffs disembarked
 25   from their trip, and even longer after Defendants became aware a passenger was
 26   suffering from COVID-19 symptoms onboard—Plaintiff Connie Simmons received
 27   a letter from Defendants alerting her that she may have been exposed to COVID-19
 28   while onboard the M/V GRAND PRINCESS. On information and belief, other
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
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  1   passengers from the instant voyage received similar correspondence from
  2   Defendants.
  3           56.   At the time of this filing, Defendant CARNIVAL has cancelled future
  4   cruises embarking from San Francisco through the end of 2020. However,
  5   CARNIVAL’s website indicates that it intends to begin operating certain cruise
  6   ships as early as August 1, 2020, potentially posing grave threats to their
  7   passengers, crew members, and the public health.12
  8           57.   If Plaintiffs had known the serious and actual risks of contracting or
  9   spreading COVID-19 while onboard the M/V GRAND PRINCESS, Plaintiffs
 10   would not have sailed on the February 11, 2020, roundtrip voyage to Mexico. Or, at
 11   minimum, if they had been made aware after embarkation of the growing and
 12   continued risk, they would have disembarked from the ship at one of its ports of
 13   call.
 14           58.   As a direct and proximate result of Defendants’ acts and omissions,
 15   Plaintiffs Connie Simmons, James Simmons, Duc Chung, and Dwight Everett
 16   became ill with COVID-19, and suffered from various symptoms, including loss of
 17   appetite, coughing, sore throat, and blood clots. Plaintiffs Connie Simmons, Duc
 18   Chung, and James Simmons were forced to miss multiple days of work.
 19           59.   As a direct and proximate result of the negligence and gross
 20   negligence of Defendants in exposing Plaintiffs and Class Members to actual risk of
 21   immediate physical injury, Plaintiffs and Class Members have suffered injuries and
 22   emotional distress of the nature and type that reasonable persons would suffer under
 23   the circumstances alleged in this Complaint, including, but not limited to, suffering
 24   anguish, fright, horror, nervousness, grief, anxiety, worry, shock, humiliation and
 25   shame.
 26           60.   Furthermore, as public health experts and physicians learn more about
 27   the myriad ways COVID-19 attacks and damages the body, Plaintiffs and Class
 28   12
        See Carnival, Health and Safety Updates, https://www.carnival.com/health-and-
      sailing-updates (last visited May 31, 2020).        CLASS ACTION COMPLAINT FOR DAMAGES
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  1   Members develop new and evolving medical fears and uncertainties that require
  2   and will continue to require medical diagnostic exams. Plaintiffs and the Class
  3   Members are suffering and will continue to suffer due to the ever-present fear and
  4   anxiety that they will or may later experience negative health outcomes or
  5   complications as a direct and proximate result of being exposed to, and potentially
  6   contracting, COVID-19 because of Defendants’ negligent and grossly negligent
  7   acts and omissions.
  8         61.    Plaintiffs Duc Chung, Connie Simmons, and James Simmons
  9   experienced a range of symptoms that manifest their exposure to and contraction of
 10   COVID-19. Furthermore, it is expected that, as a result of Defendants’ negligence
 11   and gross negligence, these Plaintiffs and the Class will continue to suffer and will,
 12   in the future, require medical services to monitor for as yet unidentified symptoms
 13   or negative health outcomes related to COVID-19.
 14                                          NOTICE
 15         62.    Section 16(A)(i) of the Passage Contract purports to require that
 16   claimants provide notice to PRINCESS and CARNIVAL of any potential claims.
 17   Although Plaintiffs do not concede that this provision is enforceable, Plaintiffs and
 18   Class Members have complied with this requirement by providing written notice to
 19   Defendants’ electronically on April 27, 2020, and May 21, 2020.
 20                           CLASS ACTION ALLEGATIONS
 21         63.    Plaintiffs bring this lawsuit as a class action on behalf of themselves
 22   and all similarly-situated persons pursuant to Federal Rules of Civil Procedure
 23   23(a) and (b)(1), (b)(2), (b)(3), and/or (c)(4). This action satisfies the applicable
 24   numerosity, commonality, typicality, adequacy, predominance, and/or superiority
 25   requirements of those provisions.
 26         64.    The proposed Class is defined as follows: All persons in the United
 27   States, who sailed as passengers on the M/V GRAND PRINCESS cruise from San
 28   Francisco, California, leaving on February 11, 2020, roundtrip to Mexico.
                                                              CLASS ACTION COMPLAINT FOR DAMAGES
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  1         65.    Excluded from the proposed Class are: (1) CARNIVAL and
  2   PRINCESS, any entity or division in which either have a controlling interest, and
  3   its legal representatives, officers, directors, assigns and successors; (2) the judicial
  4   officer(s) to whom this case is assigned and the judicial officer(s)’ immediate
  5   family and legal staff; and (3) governmental entities. Plaintiffs reserve the right to
  6   amend the Class definition if discovery and further investigation reveal that the
  7   Class should be expanded, otherwise divided into subclasses, or modified in any
  8   other way.
  9         66.    The individual Plaintiffs named in this complaint support the use of the
 10   class action mechanism to achieve economy, efficiency, fairness, and consistency
 11   of result by determining the important common questions raised in this action on a
 12   common basis.
 13         A.     Numerosity
 14         67.    There were, on information and belief, approximately 2,422
 15   passengers on the M/V GRAND PRINCESS for the cruise that is the subject of this
 16   action. Their exact number and identities can be readily ascertained from
 17   Defendants’ records. The individual joinder of all passengers is impractical, and the
 18   class action procedure is more practical, cost-effective, inclusive, and efficient than
 19   multiple lawsuits on the common questions of law and fact that unite the class, or
 20   piecemeal and incomplete individual joinder. The disposition of the claims of these
 21   Class Members in a single action will provide substantial benefits to all parties and
 22   to the Court. Class Members are readily identifiable from information and records
 23   in Defendants’ possession, custody, or control, as well as from records kept by the
 24   Department of Health and Human Services.
 25         B.     Typicality
 26         68.    The claims of Plaintiffs are typical of the claims of Class Members in
 27   that Plaintiffs, like all Class Members, sailed on the leg of the M/V GRAND
 28   PRINCESS cruise that began on February 11, 2020 and returned on February 21,
                                                              CLASS ACTION COMPLAINT FOR DAMAGES
                                               - 15 -
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  1   2020. Plaintiffs, like all Class Members, have been damaged by Defendants’
  2   misconduct in that they sailed on a cruise they would not have sailed on and
  3   suffered significant injury, emotional distress and economic damage caused by the
  4   negligence of the Defendants. The factual bases of CARNIVAL and PRINCESS’s
  5   misconduct are common to all Class Members and represent a common thread of
  6   misconduct resulting in injury to all Class Members.
  7         C.     Adequate Representation
  8         69.    Plaintiffs DUC CHUNG, BERNETTA EVERETT, DWIGHT
  9   EVERETT, CONNIE SIMMONS, JAMES SIMMONS and MICHAEL SIMMONS
 10   will fairly and adequately represent and protect the interests of the Class Members.
 11   Plaintiffs DUC CHUNG, BERNETTA EVERETT, DWIGHT EVERETT,
 12   CONNIE SIMMONS, JAMES SIMMONS and MICHAEL SIMMONS have
 13   retained counsel with substantial experience in prosecuting class actions, aggregate
 14   suits, and mass torts.
 15         70.    Plaintiffs DUC CHUNG, BERNETTA EVERETT, DWIGHT
 16   EVERETT, CONNIE SIMMONS, JAMES SIMMONS, and MICHAEL
 17   SIMMONS, and their counsel are committed to vigorously prosecuting this action
 18   on behalf of all Class Members, and have the financial resources to do so. Neither
 19   Plaintiffs DUC CHUNG, BERNETTA EVERETT, DWIGHT EVERETT,
 20   CONNIE SIMMONS, JAMES SIMMONS, and MICHAEL SIMMONS, nor their
 21   counsel have interests adverse to those of the Class Members.
 22         D.     Predominance of Common Issues
 23         71.    There are numerous questions of law and fact, including those related
 24   to Defendants’ knowledge, conduct, and duty throughout the events described in
 25   this Complaint, common to Plaintiffs and Class Members that predominate over
 26   any question affecting only individual Class Members, the answers to which will
 27   advance resolution of the litigation as to all Class Members. These common legal
 28   and factual issues include, inter alia:
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
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  1                a.    what Defendants knew about the presence and risks associated
  2   with the COVID-19 virus, and contagions generally, and when they knew it;
  3                b.    whether Defendants should have canceled the subject cruise to
  4   avoid exposing passengers to a deadly pathogen and/or taken other steps to avoid
  5   exposing passengers to a deadly pathogen;
  6                c.    whether, in light of the widespread knowledge of COVID-19
  7   and Defendants’ knowledge of the risk of contagion aboard cruise ships,
  8   Defendants had a duty to conduct medical screenings of passengers prior to
  9   boarding Plaintiffs and others onto the M/V GRAND PRINCESS on February 11,
 10   2020;
 11                d.    whether Defendants had a duty to decontaminate the M/V
 12   GRAND PRINCESS after they knew or should have known that individuals aboard
 13   the M/V GRAND PRINCESS prior to the subject cruise were or were potentially
 14   carriers of the COVID-19 virus;
 15                e.    whether Defendants had a duty to disclose to passengers
 16   onboard the M/V GRAND PRINCESS that at least one person onboard the vessel
 17   was experiencing symptoms of COVID-19, and the related risks that Plaintiffs
 18   could contract and /or spread the virus;
 19                f.    whether Defendants had a duty to institute social distancing or
 20   quarantine protocols on the ship when they became aware that at least one
 21   passenger onboard was suffering from COVID-19 symptoms;
 22                g.    whether Defendants failed to disclose, during the vessel’s trip or
 23   in the days immediately following, that passengers and crew aboard the M/V
 24   GRAND PRINCESS between February 11, 2020, and February 21, 2020, were or
 25   were potentially carriers of the COVID-19 virus and other relevant information;
 26                h.    interpretation of the applicable contract documents and the
 27   associated “Passenger Bill of Rights” incorporated therein;
 28
                                                           CLASS ACTION COMPLAINT FOR DAMAGES
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  1                 i.    whether Defendants acted as alter egos and/or agents, such that
  2   they should be held jointly liable for the conduct alleged herein;
  3                 j.    whether CARNIVAL is liable for the acts, omissions, and
  4   violations described in this Complaint;
  5                 k.    whether PRINCESS is liable for the acts, omissions, and
  6   violations described in this Complaint; and
  7                 l.    whether the conduct of any or all of the defendants warrants the
  8   imposition of punitive damages to vindicate the societal interest in punishment and
  9   deterrence.
 10         E.      Superiority
 11         72.     Plaintiffs and Class Members have all suffered and will continue to
 12   suffer harm and damages as a result of CARNIVAL’s and PRINCESS’s unlawful
 13   and wrongful conduct. A class action is superior to other available methods for the
 14   fair and efficient adjudication of this controversy.
 15         73.     Absent a class action, most Class Members would likely find the cost
 16   of litigating their claims prohibitively high and would therefore have no effective
 17   remedy at law. Because of the relatively small size of the individual Class
 18   Members’ claims (compared to the cost of litigation), it is likely that only a few
 19   Class Members could afford to seek legal redress for Defendants’ misconduct.
 20   Absent a class action, Class Members will continue to incur damages, and
 21   Defendants’ misconduct will continue without remedy.
 22         74.     Class treatment of common questions of law and fact is superior to
 23   other available procedures, such as multiple individual actions or piecemeal
 24   litigation because class treatment will conserve the resources of the courts and the
 25   litigants, and will promote consistency and efficiency of adjudication.
 26         F.      Limited Fund
 27         75.     In an abundance of caution, Plaintiffs take note of the presently
 28   apparent financial circumstances of CARNIVAL and/or PRINCESS to allege the
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
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  1   possibility that their assets and resources available to fairly compensate Plaintiffs
  2   and Class Members, to satisfy appropriate punitive damages awards, and/or
  3   otherwise fairly address the claims against them may constitute a “limited fund”
  4   within the meaning of Ortiz v. Fibreboard Corp., 527 U.S. 815 (1999), such that
  5   class certification under Rule 23(b)(1)(B) is necessary and appropriate as a matter
  6   of due process and equity.
  7         G.       Mass Action
  8         76.      In the alternative, this matter should proceed as a mass action, as
  9   defined in 28 U.S.C. § 1332 (d)(11)(B)(i) and should be tried jointly on the ground
 10   that plaintiffs’ claims involve common questions of law or fact, including as set
 11   forth above.
 12         77.      Plaintiffs’ individual claims exceed the required jurisdictional amount
 13   of $75,000.00.
 14                                   CLAIMS FOR RELIEF
 15                           FIRST CAUSE OF ACTION
                        NEGLIGENCE AGAINST ALL DEFENDANTS
 16
            78.      Plaintiffs re-allege all allegations in all preceding paragraphs as if
 17
      alleged fully herein.
 18
            79.      Defendants owed Plaintiffs, and the Class, who were passengers who
 19
      boarded the M/V GRAND PRINCESS on February 11, 2020, a duty to ensure that
 20
      they would not be exposed to an unreasonable risk of harm.
 21
            80.      Likewise, Defendants owed Plaintiffs and the Class a duty to take
 22
      actions to prevent and mitigate the risk of threats to passengers’ health and safety,
 23
      including by ensuring that the M/V GRAND PRINCESS was properly cleaned,
 24
      disinfected, and safely maintained before and during the voyage.
 25
            81.      Defendants knew or should have known that cruise ships pose an
 26
      especially severe risk of viral outbreak. Defendants knew or should have known
 27
      that cruise ships owned and operated by Defendants had been the sites of prior,
 28
      lethal outbreaks of COVID-19, and should have been aware of new guidelines for
                                                               CLASS ACTION COMPLAINT FOR DAMAGES
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  1   the cruise industry published by Dr. Hadjichristoulou and a team of European
  2   experts on February 3, 2020. In particular, Defendants had knowledge of the actual
  3   risks facing passengers based on the outbreak of the virus on the M/V Diamond
  4   Princess a mere three weeks prior to the instant outbreak.
  5         82.    Defendants knew or should have known that passengers boarding the
  6   M/V GRAND PRINCESS could be carriers of COVID-19, and that crew members
  7   aboard the M/V GRAND PRINCESS were or could have been exposed to COVID-
  8   19 and were or could have been carriers of the virus, but did not institute any
  9   screening procedures prior to the February 11, 2020, embarkation of the M/V
 10   Grand Princess.
 11         83.    Defendants failed to do what a reasonably careful cruise ship owner
 12   and operator would do under the circumstances.
 13         84.    Defendants breached their duty to Plaintiffs and the Class when, with
 14   the aforementioned knowledge, Defendants nevertheless chose to embark on the
 15   San Francisco-Mexico voyage.
 16         85.    Defendants also breached their duties when, with that same
 17   knowledge, they chose not to screen or medically examine any passengers or crew
 18   members, or prevent those infected with the virus from boarding the ship, prior to
 19   embarkation on February 11, 2020, or throughout the cruise at any ports of call
 20   after passengers had left and returned to the ship.
 21         86.    Additionally, Defendants breached their duties to Plaintiffs and the
 22   Class when Defendants repeatedly failed to notify passengers aboard the M/V
 23   GRAND PRINCESS during the instant voyage that passengers traveling alongside
 24   them were suffering from COVID-19 symptoms.
 25         87.    If Defendants had adequately informed Plaintiffs and the Class prior to
 26   boarding, or at any other time, of the relevant information in Defendants’
 27   possession, including facts regarding Defendants’ lack of adequate disinfecting
 28   procedures on the M/V GRAND PRINCESS, lack of adequate quarantining
                                                            CLASS ACTION COMPLAINT FOR DAMAGES
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  1   procedures, and the actual risk of exposure to COVID-19, Plaintiffs and the Class
  2   could have made informed decisions about their health and their families’ health,
  3   including disembarking from or not boarding the vessel.
  4         88.    Defendants repeatedly breached their duties to Plaintiffs and the Class
  5   when, throughout the San Francisco-Mexico voyage, with the aforementioned
  6   knowledge, they repeatedly chose not to inform Plaintiffs of the continuing and
  7   growing risks of contracting COVID-19, and chose not to provide Plaintiffs with
  8   the informed option to disembark at one of the vessel’s ports of call.
  9         89.    Finally, Defendants continued to breach their duties to Plaintiffs and
 10   the Class when, after learning that at least one passenger onboard was suffering
 11   from COVID-19 symptoms, they, inter alia: chose not to warn Plaintiffs’ and the
 12   Class of the potential for infection; failed to implement quarantine or social
 13   distancing protocols; chose to continue operating large, public gatherings and
 14   meals; chose to continue to operate daily turndown service; and chose to continue
 15   hosting communal activities.
 16         90.    As a direct and proximate result of Defendants’ failure to safeguard
 17   Plaintiffs and the Class, Plaintiffs and the Class were at actual risk of immediate
 18   physical injury.
 19         91.    As a direct and proximate result of Defendants’ breach of their duties
 20   of care, Plaintiff CONNIE SIMMONS has suffered weeks of illness, including a
 21   cough, shortness of breath, and blood clots, and she was forced to stop working for
 22   over five weeks.
 23         92.    As a direct and proximate result of Defendants’ breach of their duties
 24   of care, Plaintiff DUC CHUNG suffered from a fever, cough, sore throat, and other
 25   symptoms that required him to self-quarantine and miss multiple days of work.
 26         93.    As a direct and proximate result of Defendants’ breach of their duties
 27   of care, Plaintiff JAMES SIMMONS suffered from sore throat, fever, chills, and a
 28   cough that caused him to miss multiple days of work.
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
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  1         94.    As a direct and proximate result of Defendants’ breach of their duties
  2   of care, Plaintiff Dwight Everett contracted COVID-19, and was ill for
  3   approximately 5 days while onboard the M/V GRAND PRINCESS.
  4         95.    As a direct and proximate result of the aforementioned negligence of
  5   Defendants in exposing them to actual risk of immediate physical injury, Plaintiffs
  6   and the Class have suffered physical injury, emotional distress of the nature and
  7   type that reasonable persons would suffer under the circumstances alleged in this
  8   Complaint, including, but not limited to, suffering, anguish, fright, horror,
  9   nervousness, grief, anxiety, worry, shock, humiliation and shame. They were
 10   traumatized by the fear of developing COVID-19. It is expected that they will
 11   continue to suffer and will, in the future, require medical services not of a kind
 12   generally anticipated as part of the effects of daily life.
 13                        SECOND CAUSE OF ACTION
                  GROSS NEGLIGENCE AGAINST ALL DEFENDANTS
 14
            96.    Plaintiffs re-allege all allegations in all preceding paragraphs as if
 15
      alleged fully herein.
 16
            97.    Defendants owed duties to Plaintiffs and the Class to: safeguard
 17
      against and mitigate the risks of passenger injury and illness; appropriately disinfect
 18
      and sanitize the M/V GRAND PRINCESS, in light of the circumstances of a global
 19
      pandemic; notify Plaintiffs and the Class of the actual and especially high risk of
 20
      contracting COVID-19 aboard the M/V GRAND PRINCESS; disembark
 21
      passengers and crew members who had likely come into contact with individuals
 22
      infected with COVID-19;and implement medical screening and examination
 23
      protocols for crew and passengers.
 24
            98.    Defendants knew of the unreasonably high risk of viral contagion of
 25
      COVID-19 on cruise ships, and Defendants knew that it was especially dangerous
 26
      to expose Plaintiffs and the rest of the Class to COVID-19 in light of the prior
 27
      situation on the Diamond Princess off the coast of Japan.
 28
                                                               CLASS ACTION COMPLAINT FOR DAMAGES
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  1         99.    Defendants’ conduct in deciding to continue to operate the M/V
  2   GRAND PRINCESS with Plaintiffs and the Class aboard, even with the
  3   aforementioned knowledge, demonstrates an intentional failure to do what a
  4   reasonably careful cruise ship owner and operator would do under the
  5   circumstances, exhibits a willful and conscious disregard for the safety of Plaintiffs
  6   and the Class, and evidences recklessness and indifference by Defendants, which
  7   constitutes gross negligence.
  8         100. Defendants’ failure to abide by the guidelines issued on February 3,
  9   2020, by not disembarking, quarantining or otherwise sheltering in their cabins the
 10   passengers and crew members known to have come into contact with the passenger
 11   suffering from COVID-19 symptoms onboard the instant cruise demonstrates a
 12   willful and conscious disregard for the rights and safety of others and amounts to an
 13   extreme departure of what a reasonably careful cruise ship owner and operator
 14   would do.
 15         101. Defendants’ choice not to warn Plaintiffs and the Class of their actual
 16   risk of harm in being exposed to COVID-19 after learning about a passenger
 17   onboard who came down with symptoms (and later died) constitutes a failure to
 18   provide even a modicum of care to Plaintiffs and the Class. The continued and
 19   repeated choice not to provide passengers with notice of the actual risks facing
 20   them demonstrates a willful and conscious disregard for the rights and safety of
 21   others and amounts to an extreme departure of what a reasonably careful cruise ship
 22   owner and/or operator would do.
 23         102. Moreover, Defendants’ behavior demonstrated a willful and conscious
 24   disregard for the rights and safety of others, and an extreme departure of what a
 25   reasonably careful cruise ship owner and/or operator would do in their continued
 26   and repeated choices to: not effectively sanitize and disinfect the M/V GRAND
 27   PRINCESS during the San Francisco-Mexico voyage; not institute medical
 28   screening and examinations for passengers and crew members; host large social
                                                            CLASS ACTION COMPLAINT FOR DAMAGES
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  1   gatherings and meals; conduct daily turn-down service; and not implement
  2   quarantine or social distance protocols at any point during the voyage. These
  3   decisions manifest Defendants’ utter failure to provide even a modicum of care to
  4   Plaintiffs and the Class.
  5         103. Defendants chose to place profits over people, including the safety of
  6   their passengers, crew, and the general public in continuing to operate business as
  7   usual, despite their knowledge of the actual—potentially lethal—risk to Plaintiffs
  8   and the Class.
  9         104. As a direct and proximate result of Defendants’ conduct, Plaintiffs
 10   were placed at actual, continual risk of immediate, and potentially fatal, physical
 11   injury.
 12         105. Indeed, as a direct and proximate result of Defendants’ breach of their
 13   duties of care, Plaintiff CONNIE SIMMONS has suffered weeks of illness,
 14   including cough, shortness of breath, and blood clots, and she was forced to stop
 15   working for over five weeks.
 16         106. As a direct and proximate result of Defendants’ breach of their duties
 17   of care, Plaintiff DUC CHUNG suffered from a fever, cough, sore throat, and other
 18   symptoms that required him to self-quarantine and miss multiple days of work.
 19         107. As a direct and proximate result of Defendants’ breach of their duties
 20   of care, Plaintiff JAMES SIMMONS suffered from sore throat, fever, chills, and a
 21   cough that caused him to miss multiple days of work.
 22         108. As a direct and proximate result of Defendants’ breach of their duties
 23   of care, Plaintiff DWIGHT EVERETT contracted COVID-19, and was ill for
 24   approximately 5 days while onboard the M/V GRAND PRINCESS.
 25         109. Finally, as a direct and proximate result of Defendants’ gross
 26   negligence in exposing Plaintiffs and the Class to actual risk of immediate physical
 27   injury, Plaintiffs and the Class have suffered emotional distress of the nature and
 28   type that reasonable persons would suffer under the circumstances alleged in this
                                                            CLASS ACTION COMPLAINT FOR DAMAGES
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  1   Complaint, including, but not limited to, suffering, anguish, fright, horror,
  2   nervousness, grief, anxiety, worry, shock, humiliation and shame. They were
  3   traumatized by the fear of developing COVID-19. It is expected that they will
  4   continue to suffer and will, in the future, require medical services not of a kind
  5   generally accepted as a typical part of daily life.
  6                       THIRD CAUSE OF ACTION
                NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
  7
            110. Plaintiffs re-allege all allegations in all preceding paragraphs as if
  8
      alleged fully herein.
  9
            111. Defendants knew or should have known of the actual risk of viral
 10
      contagion of COVID-19 aboard cruise ships, and, in light of the situation on the
 11
      Diamond Princess only 3 weeks prior to the instant voyage on the M/V GRAND
 12
      PRINCESS, Defendants knew or should have known that it was especially
 13
      dangerous to expose Plaintiffs and the rest of the Class to COVID-19.
 14
            112. Even in light of this information, however, Defendants failed to
 15
      implement any effective screening or medical examination procedures for
 16
      passengers boarding the ship prior to the voyage.
 17
            113. Defendants also knew or should have known that at least one
 18
      passenger traveling on the instant trip aboard the M/V GRAND PRINCESS was
 19
      experiencing symptoms of COVID-19 (that passenger eventually tested positive for
 20
      COVID-19).
 21
            114. Nevertheless, Defendants continually and repeatedly: failed to take
 22
      any effective actions to prevent or mitigate the spread of COVID-19; failed to alert
 23
      passengers to the possibility of infection aboard the ship; hosted and encouraged
 24
      participation in large group activities and events that Defendants knew could lead to
 25
      large-scale infection among the crew and passengers.
 26
            115. These choices by Defendants created a dangerous and threatening
 27
      environment in which Plaintiffs and the Class were forced to live for almost two
 28
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
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  1   weeks, at all times directly at risk of becoming infected with, made ill by, and/or
  2   spreading COVID-19.
  3         116. As the direct and proximate result of Defendants’ actions and
  4   omissions throughout the duration of their voyage aboard the M/V GRAND
  5   PRINCESS, Plaintiffs and members of the Class were in the “zone of danger,”
  6   where they were at immediate risk of actual physical harm, including the potential
  7   of contracting COVID-19, suffering from the illness—including experiencing
  8   shortness of breath, coughing, body aches, fever, and/or any number of yet-to-be-
  9   identified future ailments, such as liver damage, kidney failure, or blood clotting—
 10   and potentially death as a result of the virus.
 11         117. Plaintiffs and members of the Class experienced severe psychic
 12   injuries, of the nature and type that reasonable persons would suffer under the
 13   circumstances alleged in this Complaint, when they were forced to watch first hand
 14   as their friends and family members became ill with COVID-19, feared for their
 15   own safety and well-being, and continue to fear that they may begin exhibiting
 16   symptoms or health complications not yet identified as a result of COVID-19.
 17   Plaintiffs suffered physical and emotional injury as the direct and proximate result
 18   of Defendants’ misconduct.
 19         118. As a direct and proximate result of Defendants’ extreme departure
 20   from the ordinary standard of care and their failure to meet their duties of care to
 21   Plaintiffs and the Class by providing even scant care, Plaintiff CONNIE
 22   SIMMONS has suffered weeks of illness, including cough, shortness of breath, and
 23   blood clots, and she was forced to stop working for over five weeks.
 24         119. As a direct and proximate result of Defendants’ breach of their duties
 25   of care, Plaintiff DUC CHUNG suffered from a fever, cough, sore throat, and other
 26   symptoms that required him to self-quarantine and miss multiple days of work.
 27         120. Plaintiff JAMES SIMMONS suffered from sore throat, fever, chills,
 28   and a cough that caused him to miss multiple days of work.
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
                                               - 26 -
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  1         121. As a direct and proximate result of Defendants’ breach of their duties
  2   of care, Plaintiff DWIGHT EVERETT contracted COVID-19, and was ill for
  3   approximately 5 days while onboard the M/V GRAND PRINCESS.
  4         122. Finally, as a direct and proximate result of Defendants’ gross
  5   negligence in exposing Plaintiffs and the Class to actual risk of immediate physical
  6   injury, Plaintiffs and the Class have suffered emotional distress of the nature and
  7   type that reasonable persons would suffer under the circumstances alleged in this
  8   Complaint, including, but not limited to, suffering, anguish, fright, horror,
  9   nervousness, grief, anxiety, worry, shock, humiliation and shame related to their
 10   own risk of contracting COVID-19 and the suffering they witnessed among their
 11   fellow passengers who contracted COVID-19. Plaintiffs and members of the class
 12   were traumatized by the fear of their family members, friends and fellow
 13   passengers developing COVID-19 and by the threat to their own health of
 14   becoming infected with the virus or suffering future negative health outcomes or
 15   complications related to exposure to and / or contraction of the virus.
 16         123. Plaintiffs and Class members were endangered and harmed by
 17   Defendants’ actions when they were forced to travel on an infested vessel without
 18   appropriate information about the risks facing them. It is expected that Plaintiffs
 19   and the Class will continue to suffer and will, in the future, require medical services
 20   not of a kind generally anticipated as a typical part of daily life.
 21
 22                      FOURTH CAUSE OF ACTION
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 23
            124. Plaintiffs re-allege all allegations in all preceding paragraphs as if
 24
      alleged fully herein.
 25
            125. Defendants knew or should have known of the actual risk of viral
 26
      contagion of COVID-19 aboard cruise ships, and, based on their experience with
 27
      COVID-19 outbreak aboard the Diamond Princess only 3 weeks prior to the instant
 28
      voyage on the M/V GRAND PRINCESS, Defendants knew or should have known
                                                              CLASS ACTION COMPLAINT FOR DAMAGES
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  1   that it was especially dangerous to expose Plaintiffs and the rest of the Class to
  2   COVID-19.
  3          126. By or before the time of boarding passengers onto the M/V GRAND
  4   PRINCESS, on February 11, 2020, Defendants knew or should have known of the
  5   extreme risks to health and safety—including the possibility of death—presented by
  6   COVID-19.
  7          127. In light of this knowledge and experience, and particularly given that
  8   cruise ships present an especially heightened risk of contagion, Defendants
  9   exhibited extreme and outrageous conduct when, inter alia, Defendants boarded
 10   Plaintiffs and the Class onto the M/V GRAND PRINCESS on February 11, 2020,
 11   without taking any effective measures to medically screen or examine passengers
 12   for COVID-19 symptoms.
 13          128. Defendants also knew or should have known during the instant trip
 14   that at least one passenger aboard the M/V GRAND PRINCESS was experiencing
 15   symptoms of COVID-19.
 16          129. Defendants additionally acted extremely and outrageously when they
 17   chose not to effectively clean, sanitize, sterilize, or disinfect the M/V GRAND
 18   PRINCESS during the instant trip.
 19          130. Defendants exhibited repeated and continued extreme and outrageous
 20   conduct when Defendants failed to: alert Plaintiffs to the fact that at least one
 21   passenger on the trip was experiencing COVID-19 symptoms and had come into
 22   contact with passengers and crew members; notify Plaintiffs and the Class about the
 23   actual and potential threat of exposure to, infection of, and the possibility of
 24   spreading COVID-19 aboard the ship; failed to advise Plaintiffs and the Class about
 25   the possibility and health benefits of disembarking during the trip, at one of the
 26   vessel’s ports of call.
 27          131. Defendants continued to behave extremely and outrageously when,
 28   after learning about the ill passenger, they: encouraged Plaintiffs and the Class to
                                                             CLASS ACTION COMPLAINT FOR DAMAGES
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  1   continue mingling and participating in large group events and functions throughout
  2   the duration of the trip; continued to provide turn down service to passengers
  3   despite the fact that crew members had likely been exposed to COVID-19; and
  4   failed to institute any policies for quarantine, isolation, or social distancing for
  5   passengers.
  6         132. As a direct and proximate result of Defendants’ intentional and
  7   reckless behavior and omissions, Plaintiffs and the Class suffered severe emotional
  8   distress and physical harm.
  9         133. Plaintiffs and the Class were forced to watch as their friends and
 10   family members became ill with COVID-19, and, all the while, fear for their own
 11   safety and well-being. Plaintiffs suffered physical and emotional injury as the direct
 12   and proximate result of Defendants’ misconduct, and Plaintiffs continue to suffer
 13   from fear and anxiety that they may still begin exhibiting symptoms or experience
 14   as-yet-unidentified complications due to their exposure to and potential contraction
 15   of COVID-19 while aboard the M/V GRAND PRINCESS.
 16         134. As a direct and proximate result of Defendants’ extreme departure
 17   from the ordinary standard of care and their failure to meet their duties of care to
 18   Plaintiffs and the Class by providing even scant care,
 19         135. As a direct and proximate result of Defendants’ breach of their duties
 20   of care, Plaintiff CONNIE SIMMONS has suffered weeks of illness, including
 21   cough, shortness of breath, and blood clots, and she was forced to stop working for
 22   over five weeks.
 23         136. As a direct and proximate result of Defendants’ breach of their duties
 24   of care, Plaintiff DUC CHUNG suffered from a fever, cough, sore throat, and other
 25   symptoms that required him to self-quarantine and miss multiple days of work.
 26         137. Plaintiff JAMES SIMMONS suffered from sore throat, fever, chills,
 27   and a cough that caused him to miss multiple of work.
 28
                                                               CLASS ACTION COMPLAINT FOR DAMAGES
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  1         138. As a direct and proximate result of Defendants’ breach of their duties
  2   of care, Plaintiff DWIGHT EVERETT contracted COVID-19 and was ill for
  3   approximately 5 days while onboard the M/V GRAND PRINCESS.
  4         139. Finally, as a direct and proximate result of Defendants’ behavior,
  5   which exposed Plaintiffs and the Class to actual risk of immediate physical injury,
  6   Plaintiffs and the Class have suffered emotional distress of the nature and type that
  7   reasonable persons would suffer under the circumstances alleged in this Complaint,
  8   including, but not limited to, suffering, anguish, fright, horror, nervousness, grief,
  9   anxiety, worry, shock, humiliation, and shame related to their own risk of
 10   contracting COVID-19 and the suffering they witnessed among their fellow
 11   passengers who contracted COVID-19. Plaintiffs and members of the class were
 12   traumatized by the fear of their family members, friends and fellow passengers
 13   developing COVID-19 and by the past and ongoing threat to their own health of
 14   becoming infected with the virus and potentially suffering from as-yet-unidentified
 15   negative health outcomes and complications.
 16         140. Plaintiffs and Class members were endangered and harmed by
 17   Defendants’ actions when they were forced to travel on an infected vessel without
 18   appropriate information about the risks facing them. It is expected that Plaintiffs
 19   and the Class will continue to suffer and will, in the future, require medical services
 20   not of a kind generally accepted as part of the wear and tear of daily life.
 21         141. Throughout the events described in this Complaint, Defendants
 22   repeatedly acted with conscious, callous, and/or reckless disregard for the rights,
 23   interests, health and safety of their passengers, such that the imposition of punitive
 24   damages, under CA Civil Code Section 3294 and/or all other applicable law, is
 25   necessary and appropriate to punish them for their course of conduct, and to deter
 26   them and others, and protect the public, from the consequences of similar conduct.
 27
 28
                                                              CLASS ACTION COMPLAINT FOR DAMAGES
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  1                                    PRAYER FOR RELIEF
  2          WHEREFORE, Plaintiffs, on behalf of themselves, and all others similarly
  3   situated, pray for judgment against Defendants, and each of them, as follows:
  4          1.     An order certifying the proposed Class pursuant to Fed. R. Civ. P. Rule
  5   23(a) and (b)(1), (b)(2), (b)(3) and/or (c)(4), designating Plaintiffs DUC CHUNG,
  6   BERNETTA EVERETT, DWIGHT EVERETT, CONNIE SIMMONS, JAMES
  7   SIMMONS and MICHAEL SIMMONS as named representatives of the Class and
  8   designating the undersigned as Class Counsel;
  9          2.     An award of damages totaling in excess of Five Million Dollars
 10   ($5,000,000.00), inclusive of compensatory damages for Plaintiffs’ injuries, including
 11   emotional pain and suffering and any other damages allowed by law, in an amount to
 12   be proven at trial;
 13          3.     An award of the costs of Plaintiffs’ and the Class’s ongoing medical
 14   monitoring and diagnostic examinations required to diagnose, prevent, and/or treat
 15   current or future injury related to Plaintiffs’ and Class Members’ exposure to and
 16   potential contraction of COVID-19, in light of the evolving scientific understanding
 17   of the full risk and scope of health outcomes of the virus;
 18          An injunction requiring Defendants to: disclose to future passengers the nature
 19   and rate of risk of communicable disease upon their cruise ships; implement
 20   disinfecting and sanitizing procedures on each of their ships in between and during
 21   voyages; implement appropriate social distancing and physical distancing protocols to
 22   avoid or reduce the transmission of communicable pathogens; disembark and
 23   quarantine passengers when Defendants become aware of a heightened risk of
 24   communicable disease aboard a ship; and canceling or discontinuing the operation of
 25   cruises when Defendants know or should have known of a potential deadly pathogen
 26   or similar aboard their ships.
 27          4.     An injunction requiring Defendants to: disclose to future passengers the
 28   nature and rate of risk of communicable disease upon their cruise ships; implement
                                                              CLASS ACTION COMPLAINT FOR DAMAGES
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  1   disinfecting and sanitizing procedures on each of their ships in between and during
  2   voyages; implement appropriate social distancing and physical distancing protocols to
  3   avoid or reduce the transmission of communicable pathogens; disembark and
  4   quarantine passengers when Defendants become aware of a heightened risk of
  5   communicable disease aboard a ship; and canceling or discontinuing the operation of
  6   cruises when Defendants know or should have known of a potential deadly pathogen
  7   or similar aboard their ships.
  8          5.       An award of attorneys’ fees and costs, as allowed by law;
  9          6.       An award of pre-judgment and post-judgment interest, as provided by
 10   law;
 11          7.       Leave to amend this Complaint to conform to the evidence produced at
 12   trial; and
 13          8.       For such other and further relief as the Court deems just and proper.
 14                                DEMAND FOR JURY TRIAL
 15          Plaintiffs hereby demand a jury trial as provided by Rule 38(a) of the Federal
 16   Rules of Civil Procedure.
 17
                                          Respectfully submitted,
 18
      Dated:       June 4, 2020           NELSON & FRAENKEL LLP
 19
 20
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